                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                    )       DOCKET NO. 3:06MJ63-H
                                            )
              v.                            )       ORDER TO UNSEAL
                                            )       COMPLAINT
JACOB RONALD CHACON KRONE                   )


       UPON MOTION of the United States of America, by and through Gretchen C.F. Shappert,

United States Attorney for the Western District of North Carolina, for an order unsealing the

complaint in the case numbered above; and

       IT APPEARING to the Court that said the reasons for sealing the complaint no longer exist;

       NOW, THEREFORE, IT IS ORDERED that the complaint in the above-numbered case be

unsealed.

       SO ORDERED.

                                                Signed: May 18, 2006




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